            Case 2:18-cr-00407-JAD-EJY Document 47
                                                46 Filed 10/19/20 Page 1
                                                                       3 of 1
                                                                            3




1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                          Case No. 2:18-cr-407-JAD-EJY

4                  Plaintiff,                           Order on Stipulation to Continue
                                                        Sentencing (First Request)
5          v.
                                                             ECF No. 46
6    JESSE CAINE BROCIUS,

7                  Defendants.

8

9           Based on the parties’ stipulation to continue the sentencing and good cause

10   appearing, IT IS HEREBY ORDERED that the sentencing hearing presently scheduled

11   for October 19, 2020, at the hour of 3:00 p.m. be continued to October 26, 2020, at the

12   hour of 4:00 p.m. in Las Vegas Courtroom 6D before Judge Jennifer A. Dorsey.

13

14
                                             HONORABLE JENNIFER A. DORSEY
15                                            UNITED STATES DISTRICT JUDGE
                                                      Dated: October 19, 2020
16

17

18

19

20

21

22

23

24


                                                  3
